                 IN THE UNITED STATES DISTRICT COURT FOR THE
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION



UNITED STATES OF AMERICA                     )          DOCKET NO. 3:13-CR-221-FDW
                                             )
           v.                                )
                                             )
                                             )
(1) HERBERT JACKSON                          )          ORDER
____________________________________

        THIS MATTER IS BEFORE THE COURT sua sponte regarding the status of the

case. Because this matter is set for trial on January 6, 2014 before Chief Judge Whitney, and

because there may remain a question regarding the Defendant’s competency to proceed, the

Court will require that the Defendant file a status report in this matter on or before December 6,

2013.   Based on this status report, the undersigned will determine what further pretrial

proceedings are required.

        SO ORDERED.


                                            Signed: November 22, 2013




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